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IN THE UNITED STATES DISTRICT COURT .., 132 t
FOR THE NORTHERN DISTRICT OFILLINOIS"*

 

RUFUS LOVELL BROOKS,
Plaintiff,
Vy Case No. 1:18-CV-03472
SAC WIRELESS. LLC Hon. Judge Edmond E. Chang

Defendant. FE I L BH D

Plaintiff, RUFUS LOVELL BROOKS, acting pro se, and pursuant to Rule 26(a) (1) of

the Federal Rules of Civil Procedure, hereby serve its initial disclosures to Defendant.

GENERAL STATEMENT

Plaintiff does not intend to disclose information that is privileged or is otherwise immune
from discovery. Disclosure of any information protected by the attorney-client privilege, work
product doctrine or any other applicable privilege, except pursuant to a specific written
agreement covering such information, shall be deemed inadvertent. Inadvertent disclosure of
any such information shall not constitute a waiver or prejudice of any privilege or any other
ground for objecting to discovery with respect to any such information nor shall such inadvertent

disclosure waive or prejudice the right of Plaintiff to object to the use of any such information

 

during this or any subsequent proceeding.
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The disclosures herein are based on the best information available to Plaintiff as of this
date. Plaintiff reserves the right to modify, amend and/or supplement these disclosures.
Plaintiffs’ disclosures shall not constitute an admission that the information is properly
discoverable or admissible at trial, and shall not constitute a waiver of any objection which might
otherwise be made to the disclosure of such information.

Plaintiff will produce responsive, non-privileged documents; to the extent such
documents exist and are in Plaintiffs possession, custody and control.

Subject to the foregomg, Plaintiff makes the following disclosures:

INITIAL DISCLOSURES
i. Individuals with Discoverable Information:

1. Rufus Lovell Brooks, Acting Pro Se
14016 Myrtlewood Drive
Orlando, FL 32832

Plaintiff has knowledge of the allegations set forth in his Complaint

2. Wanda Rodriguez
Manager of Human Resources
540 West Madison
Suite 1600
Chicago, IL 60661

Ms. Rodriguez has knowledge regarding the facts and circumstances of
Plaintiff's claims in the Complaint.

3. Steve Rosenblum
Manager of Human Resources
540 West Madison
Suite 1600
Chicago, IL 60661

Mr. Rosenblum has knowledge regarding the facts and circumstances of
Plaintiff's claims in the Complaint.
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4. Jeff Woods, SAC Wireless’s Construction Manager
Address Unknown.

Mr. Woods has knowledge regarding the facts and circumstances of
Plaintiff's claims in the Complaint.

5. Ashley Fenoglio SAC Wireless’s recruiter
660 Newport Center Drive, Suite 200 Newport
Beach, CA 92660

Ms, Fenoglio has knowledge regarding the facts and circumstances of
Plaintiff's claims in the Complaint.

6. Juan Cruz SAC Wireless’s employee.
Address Unknown

Mr. Cruz has knowledge regarding the facts and circumstance of Plaintiff's claim in
the Complaint. Mr. Cruz interviewed Plaintiff in personal and knows Plaintiff’s
race and age.

7. Jeff Hann, SAC Wireless’s Director
Address Unknown

Mr. Hann has knowledge regarding the facts and circumstances of Plaintiffs
claims in the Complaint. Mr. Hann is a former co-worker of Plaintiff has
knowledge regarding Plaintiff's race and age.

8. LinkedIn Corporation
ATTN: Legal Department
1000 West Maude Avenue
Sunnyvale, CA 94085

LinkedIn has knowledge regarding the facts and circumstances of Plaintiff's
claims in the Complaint. LinkedIn has knowledge regarding the facts of
Defendant’s recruiting and interviewing process.

9. Glasshouse, LLC
ATTN: Legal Department
Mill Valley, CA

Glasshouse has knowledge regarding the facts of Defendant’s recruiting and
interviewing process.
3
iii.

iv.

 

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Plaintiff's personal information on file with the Defendant that idenifited Plaintiff's
age and race.

2. Plaintiff's applications for positions with SAC Wireless.

3. Documents related to the Plaintiff's applications for positions with SAC Wireless..

4, Documents related to the positions applied to by Plaintiff.

5, E-mail communication between Plaintiff and Defendant’s employees

6. E-mail communication between Phintiff and Defendant’s staffing agencies that idenitied
Phintiff's age and race.

Fs E-mail communication between LinkedIn and Plaintiff regarding Defendant’s
recruitment process.

8. Electronic notifications from LinkedIn informing Plaintiff that his profile was
viewed by Defendant’s employees.

D, Glasshouse reviews.

10. Any and all documents identified by Defendant and not objected to by Plaintiff.

11. Plaintiff reserves its right to supplement this list with any additional documents
identified during the discovery of this matter.

Damages

1. Past due mortgage payment of $25,747.00

ze 401 K withdraws in the amount of $30,000.00.

Insurance

None.

Dated this 20th day of July, 2018.

Rufus Lovell Brooks,

Acting pro se

Phone: (407) 704-8123

E-mail: brooks.rufus@yahoo.com
 

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I certify that, on this 20th day of June, 2018, a copy of Plaintiff's Initial disclosures to

Defendant hereof was served via email, and U.S. registered mail to:

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